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    January 30, 2025                     ''£'3 "2 2025
    Judge Claudia Wilken           NoShMIdSofSw
    United States District Court


    Northern District of California


    Re: In re College Athlete NIL Litigation, Case No. 4:20-cv-039I9-CW (N.D. Cal.)

    Dear Judge Wilken,

    My name is Jason Amsler. I am a Senior at Stanford University. I played on the Stanford football
    team for two seasons, from 2021 - 2022.1 am submitting this objection to the "Settlement
    Football and Men's Basketball Class" definition in the proposed settlement of the
    above-referenced litigation, which limits membership only to full Grant-in-Aid ("GIA")
    scholarship athletes.

    During the two seasons of my football career, Stanford was a member of the PAC-I2. Thus,I
#   played in a Power Five conference my entire career at Stanford.

    I was offered and accepted a Preferred Walk-On("PWO")position at Stanford. As a recruited
    PWO,I did not have to try out for the team. I was treated the same as any GIA player, except
    that I did not receive the same financial benefits as a GIA player. I was a full member of the
    team, subject to the same regulations and expectations as GIA players. I was held to the same
    athletic and academic standards as all GIA players, including full 12 months-a-year participation
    in all football practices, lifts, trainings, meetings, and activities.

    During each of my two seasons, I was an active roster participant in Fall Camp, a time of year
    when the roster number is limited per NCAA Bylaw 17.11.3.1.2.1 played in multiple games
    during my career. I traveled to away games during my career.

    As a full member of the Stanford football team, 1 propose that players in my position should be
    added to the definition of the "Settlement Football and Men's Basketball Class." My NIL was
    used on broadcast television and other media. During my time at Stanford, I was not getting a
    free education like GIA players, but my NIL was used along with GIA players to promote the
    football team during broadcasts in the games in which I played and I attended on the sideline as a
    backup. I believe it is only fair and reasonable that players like myself be eligible for broadcast
    NIL payments and not be treated differently than GIA players.

    It is not fair that athletic scholarship status alone determines that one player's NIL on the field is
    worth significant broadcast compensation, whereas the teammate alongside him in the same
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game is worth nothing. I request that the definition of the "Settlement Football and Men's
Basketball Class" include all Power 5 athletes who actively participated and contributed to their
teams. An easily verifiable measure, such as participation on a roster during Fall Camp would
fairly include all athletes who contributed to the broadcast revenue.

Respectfully submitted,

Jason Amsler


NCAA Eligibility Center ID: 2008901566
